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                                                                                                                         E-FILED
                                                                                     Friday, 31 August, 2018 08:58:48 AM
                                                                                             Clerk, U.S. District Court, ILCD

                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O’NEAL #N53022,                                 )
                                                      )
          Plaintiff,                                  )               Case No. 18-CV-4063
                                                      )
vs.                                                   )
                                                      )
MANUEL ROJAS, et al.,                                 )
                                                      )
          Defendants.                                 )

          DEFENDANTS LAHOOD AND RODRIGUEZ’S ANSWER AND AFFIRMATIVE DEFENSES
                           TO PLAINTIFF’S COMPLAINT

          NOW COME the Defendants, JOSEPH LAHOOD and ROBERT RODRIGUEZ, by and

through their attorney, Brad W. Keller of HEYL, ROYSTER, VOELKER & ALLEN, and pursuant to the

Court’s Merit Review Opinion (ECF #14), hereby submit their Answer and Affirmative Defenses to

Plaintiff’s Complaint (ECF #1), stating as follows:

                                                   Allegations1

           1.          Plaintiff is Catholic and has requested to be served a meatless meal on Fridays
during lent.

           ANSWER: Defendants admit Plaintiff identifies as Catholic and has previously
           requested to be served a meatless meal on Fridays during Lent.

           2.        When his request was denied, Plaintiff confronted Defendant Rojas (the Chaplain
    at Hill Correctional Center), whereupon Defendant Rojas retaliated against Plaintiff by removing
    Plaintiff as a participant in a special Catholic service known as Cursillo.

           ANSWER: Defendants admit that Rojas is the Chaplain at Hill Correctional Center.
           Defendants have insufficient knowledge or information to form a belief as to the
           remaining allegations in this paragraph.




1
  Pursuant to Local Rule 16.3(E)(2) for the Central District of Illinois, “the answer and subsequent pleadings will be
to the issues stated in the Case Management Order.”


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          3.     All the other Defendants acquiesced or played a part in these denials.

          ANSWER: Defendants deny the allegations in this paragraph.

          4.    At this point, the Court cannot rule out claims under the First Amendment (right
to practice religion), Fourteenth Amendment (equal protection), and the Religious Land Use and
Institutionalized Persons Act (right to practice religion).

          ANSWER: Defendants deny violating Plaintiff’s rights under the First Amendment,
          the Fourteenth Amendment, or the Religious Land Use and Institutionalized
          Persons Act, and Defendants deny violating any of Plaintiff’s rights whatsoever.
          Defendants deny Plaintiff is entitled to any relief whatsoever.

          5.   Plaintiff may also state a retaliation claim against Defendant Rojas, which will
proceed for further development.

          ANSWER: Defendants lack knowledge or information sufficient to form a belief as
          to the allegations in this paragraph. Moreover, this is not directed against these
          Defendants.

                                           Relief Requested

          Defendants deny Plaintiff is entitled to any relief whatsoever.

                                             Jury Demand

          Defendants demand a trial by jury.

                                        Affirmative Defenses

          A.     Not State Actors

          Plaintiff’s claims against these Defendants should be dismissed as they are not state
actors.

           B.      Administrative Exhaustion.

          Plaintiff has failed to exhaust administrative remedies prior to filing his suit. Plaintiff’s
 suit is therefore barred by 42 U.S.C. 1997e(a).

           C.      Statutes of Limitations.

         Plaintiff’s claims arising more than two years before filing to which tolling does not
apply are barred by the applicable statutes of limitations.




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        WHEREFORE, for the above and foregoing reasons, the Defendants, JOSEPH LAHOOD

and ROBERT RODRIGUEZ, respectfully request this honorable Court deny Plaintiff any relief

whatsoever.

                                           JOSEPH LAHOOD and ROBERT RODRIGUEZ


                                           BY:________s/ Brad W. Keller__________
                                           HEYL, ROYSTER, VOELKER & ALLEN
                                           Brad W. Keller - ARDC #: 6303676
                                           300 Hamilton Blvd., P.O. Box 6199
                                           Peoria, Illinois 61602 1352
                                           Telephone 309.676.0400
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                                           bkeller@heylroyster.com,
                                           mkeogel@heylroyster.com (secondary)




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                                      PROOF OF SERVICE

      I hereby certify that on August 31, 2018, I electronically filed the foregoing instrument,
Answer and Affirmative Defenses to Plaintiff’s Complaint, with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to the following:

Clayton J. Ankney
Illinois Assistant Attorney General
500 South Second Street
Springfield, IL 62701
E-mail: cankney@atg.state.il.us

       I further certify that I have mailed on August 31, 2018, by United States Postal Service the
foregoing instrument, Answer and Affirmative Defenses to Plaintiff’s Complaint, to the following
non-CM/ECF participant:

Aaron O’Neal, N53022
HILL CORRECTIONAL CENTER
Inmate Mail/Parcels
PO Box 1700
Galesburg, IL 61401

                                                          BY:_____s/ Brad W. Keller__________
                                                                    Brad W. Keller




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